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Attorney for Plaintiff and Counter-Defendant Andrew Sawyer


                         IN THE UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MISSOURI
                                   EASTERN DIVISION


                                                ) Case no. 4:16 CV 2163 CDP
MISSOURI PRIMATE FOUNDATION, et.        )
al.,                                    )
                                        )
                                        )          DEFENDANT ANDREW SAWYER'S
     Plaintiffs and Counter-Defendants, )          SUPPLEMENTAL RESPONSES TO
                                        )          COUNTERCLAIM PLAINTIFF'S FIRST
 vs.                                    )          REQUESTS FOR PRODUCTION OF
                                        )          DOCUMENTS; VERIFICATION
PEOPLE FOR THE ETHICAL TREATMENT)
OF ANIMALS, INC., et. al.,              )
                                        )
                                        )
     Defendant and Counter-Plaintiff.
                                        )
                                        )
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       Pursuant to Rule 34 of the Federal Rules of Civil Procedure, Plaintiff and Counter-

Defendant Andrew Sawyer ("Sawyer"), by and through counsel, hereby supplements his

responses and objections to Defendant and Counter- Plaintiffs' First Requests For Production of

Documents to Counterclaim Defendants as follows:

                                    G NERAL OBJE TIONS

The following General Objections apply to every paragraph of the production requests:

       1. Counter-Defendant objects to any request that calls for privileged information,

including, without limitation, information protected by the attorney-client privilege.
       2. Counter-Defendant objects to any request that calls for information prepared in

anticipation of litigation or for trial absent a showing of substantial need by Counter-Plaintiffs.

       3. Counter-Defendant objects to any request that calls for the production of any

information containing or reflecting the mental    impres~ions,   conclusions, opinions and/or legal

theories of any attorney for Counter-Defendant, on the grounds that such information is protected

by the attorney work product doctrine.

       4. Counter-Defendant objects to any request that is overly broad, unduly burdensome,

harassing, duplicative or which requests information already in the possession of Counter-

Plaintiffs or which can be easily accessed by Counter-Plaintiffs without undue expense or

trouble.

           5. Counter-Defendant objects to any request that calls for information which is neither

relevant to the subject matter of the pending Complaint nor reasonably calculated to lead to the

discovery of admissible evidence in connection with the pending Complaint.

           6. Counter-Defendant objects to any request, and to every "definition" or "instruction,"

that seeks to impose obligations beyond those required by the Federal Rules of Civil Procedure,

as reasonably interpreted and supplemented by local court rules.

           7. Counter-Defendant reserves all objections as to the competence, relevance, materiality,

admissibility, or privileged status of any information provided in response to these requests,

unless Counter-Defendant specifically states otherwise.

           8. Counter-Defendant objects to any request to the extent it seeks information from

former directors, officers, employees, agents, partners, representatives, and attorneys of Counter-

Defendant, which such persons are not under the control of Counter-Defendant.

           9. Counter-Defendant objects to any request to the extent it seeks disclosure of



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proprietary and/or confidential business information of any business or operation.

       10. Counter-Defendant's general objections are applicable to, and included in, all specific

objections and responses set forth below.

                                     SPECIFIC RESPONSES

       Request for Production No. 1:

       In response to this request, Counter-defendant Sawyer invokes his rights against self-

incrimination pursuant to the 51h and 14th Amendments to the US Constitution, as well as

pursuant to Article 1, Section 19 ofthe Missouri Constitution, and on that basis objects to and

will not provide the information sought.

       Request for Production No.2:

       In response to this request, Counter-defendant Sawyer invokes his rights against self-

incrimination pursuant to the 51h and 141h Amendments to the US Constitution, as well as

pursuant to Article 1, Section 19 of the Missouri Constitution, and on that basis objects to and

will not provide the information sought. Without waiving the objection, Counter-defendant

Sawyer states that he is unaware of any records responsive to the request that are in his

possession, custody, or control.

       Request for Production No. 3:

       In response to this request, Counter-defendant Sawyer invokes his rights against self-

incrimination purs~ant to the 51h and 14th Amendments to the US Constitution, as well as

pursuant to Article 1, Section 19 of the Missouri Constitution, and on that basis objects to and

will not provide the information sought. Without waiving the objection, Counter-defendant

Sawyer states that he is unaware of any records responsive to the request that are in his

possession, custody, or control.



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       Request for Production No.4:

       In response to this request, Counter-defendant Sawyer invokes his rights against self-

incrimination pursuant to the 5th and 14th Amendments to the US Constitution, as well as

pursuant to Article 1, Section 19 ofthe Missouri Constitution, and on that basis objects to and

will not provide the information sought. Without waiving the objection, Counter-defendant

Sawyer states that he is unaware of any records responsive to the request that are in his

possession, custody, or control.

       Request for Production No.5:

       In response to this request, Counter-defendant Sawyer invokes his rights against self-

incrimination pursuant to the 51h and 14th Amendments to the US Constitution, as well as

pursuant to Article 1, Section 19 of the Missouri Constitution, and on that basis objects to and

will not provide the information sought. Without waiving the objection, Counter-defendant

Sawyer states that he is unaware of any records responsive to the request that are in his

possession, custody, or control.

       Request for Production No. 6:

       In response to this request, Counter-defendant Sawyer invokes his rights against self-

incrimination pursuant to the 51h and 14th Amendments to the US Constitution, as well as

pursuant to Article 1, Section 19 of the Missouri Constitution, and on that basis objects to and

will not provide the information sought. Without waiving the objection, Counter-defendant

Sawyer states that he is unaware of any records responsive to the request that are in his

possession, custody, or control.

       Request for Production No.7:

       In response to this request, Counter-defendant Sawyer invokes his rights against self-



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incrimination pursuant to the 51h and 14th Amendments to the US Constitution, as well as

pursuant to Article 1, Section 19 ofthe Missouri Constitution, and on that basis objects to and

will not provide the information sought. Without waiving the objection, Counter-defendant

Sawyer states that he is unaware of any records responsive to the request that are in his

possession, custody, or control.

       Request for Production No. 8:

       In response to this request, Counter-defendant Sawyer invokes his rights against self-

incrimination pursuant to the 5th and 14th Amendments to the US Constitution, as well as

pursuant to Article 1, Section 19 of the Missouri Constitution, and on that basis objects to and

will not provide the information sought.

       Request for Production No.9:

       In response to this request, Counter-defendant Sawyer invokes his rights against self-

incrimination pursuant to the 51h and 141h Amendments to the US Constitution, as well as

pursuant to Article 1, Section 19 ofthe Missouri Constitution, and on that basis objects to and

will not provide the information sought. Without waiving the objection, Counter-defendant

Sawyer states that he is unaware of any records responsive to the request that are in his

possession, custody, or control.

       Request for Production No. I 0:

       In response to this request, Counter-defendant Sawyer invokes his rights against self-

incrimination pursuant to the 51h and 14th Amendments to the US Constitution, as well as

pursuant to Article 1, Section 19 of the Missouri Constitution, and on that basis objects to and

will not provide the information sought. Without waiving the objection, Counter-defendant

Sawyer states that he is unaware of any records responsive to the request that are in his



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possession, custody, or control.

       Request for Production No. Jl:

       In response to this request, Counter-defendant Sawyer invokes his rights against self-

incrimination pursuant to the   5th   and 14th Amendments to the US Constitution, as well as

pursuant to Article 1, Section 19 ofthe Missouri Constitution, and on that basis objects to and

will not provide the information sought. Without waiving the objection, Counter-defendant

Sawyer states that he is unaware of any records responsive to the request that are in his

possession, custody, or control.

       Request for Production No. 12:

       In response to this request, Counter-defendant Sawyer invokes his rights against self-

incrimination pursuant to the   5th   and 14th Amendments to the US Constitution, as well as

pursuant to Article 1, Section 19 of the Missouri Constitution, and on that basis objects to and

will not provide the information sought. Without waiving the objection, Counter-defendant

Sawyer states that he is unaware of any records responsive to the request that are in his

possession, custody, or control.

       Request for Production No. 13:

       In response to this request, Counter-defendant Sawyer invokes his rights against self-

incrimination pursuant to the   5th   and 14th Amendments to the US Constitution, as well as

pursuant to Article 1, Section 19 of the Missouri Constitution, and on that basis objects to and

will not provide the information sought. Without waiving the objection, Counter-defendant

Sawyer states that he is unaware of any records responsive to the request that are in his

possession, custody, or control.




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       Request for Production No. 14:

       In response to this request, Counter-defendant Sawyer invokes his rights against self-

incrimination pursuant to the   5th   and 14th Amendments to the US Constitution, as well as

pursuant to Article 1, Section 19 of the Missouri Constitution, and on that basis objects to and

will not provide the information sought. Without waiving the objection, Counter-defendant

Sawyer states that he is unaware of any records responsive to the request that are in his

possession, custody, or control.

       Request for Pwduction No. 15:

       In response to this request, Counter-defendant Sawyer invokes his rights against self-

incrimination pursuant to the 51h and 14th Amendments to the US Constitution, as well as

pursuant to Article 1, Section 19 of the Missouri Constitution, and on that basis objects to and

will not provide the information sought.

       Request for Production N . 16:

       In response to this request, Counter-defendant Sawyer invokes his rights against self-

incrimination pursuant to the 51h and 14th Amendments to the US Constitution, as well as

pursuant to Article 1, Section 19 ofthe Missouri Constitution, and on that basis objects to and

will not provide the information sought.

       Request for Production No. 17:

       In response to this request, Counter-defendant Sawyer invokes his rights against self-

incrimination pursuant to the 51h and 14th Amendments to the US Constitution, as well as

pursuant to Article 1, Section 19 of the Missouri Constitution, and on that basis objects to and

will not provide the information sought. Without waiving the objection, Counter-defendant

Sawyer states that he is unaware of any records responsive to the request that are in his



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possession, custody, or control.

       Request for Production No. 18:

       In response to this request, Counter-defendant Sawyer invokes his rights against self-

incrimination pursuant to the   5th   and 14th Amendments to the US Constitution, as well as

pursuant to Article 1, Section 19 of the Missouri Constitution, and on that basis objects to and

will not provide the information sought. Without waiving the objection, Counter-defendant

Sawyer states that he is unaware of any records responsive to the request that are in his

possession, custody, or control.

       Requ.est for Production No. 19:

       In response to this request, Counter-defendant Sawyer invokes his rights against self-

incrimination pursuant to the   5th   and 14th Amendments to the US Constitution, as well as

pursuant to Article 1, Section 19 of the Missouri Constitution, and on that basis objects to and

will not provide the information sought. Without waiving the objection, Counter-defendant

Sawyer states that he is unaware of any records responsive to the request that are in his

possession, custody, or control.

       Request for Production No. 20:

       In response to this request, Counter-defendant Sawyer invokes his rights against self-

incrimination pursuant to the   5th   and 14th Amendments to the US Constitution, as well as

pursuant to Article 1, Section 19 of the Missouri Constitution, and on that basis objects to and

will not provide the information sought. Without waiving the objection, Counter-defendant

Sawyer states that he is unaware of any records responsive to the request that are in his

possession, custody, or control.




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       Reg uest for Production No. 21:

       In response to this request, Counter-defendant Sawyer invokes his rights against self-

incrimination pursuant to the   5th   and 14th Amendments to the US Constitution, as well as

pursuant to Article 1, Section 19 ofthe Missouri Constitution, and on that basis objects to and

will not provide the information sought. Without waiving the objection, Counter-defendant

Sawyer states that he is unaware of any records responsive to the request that are in his

possession, custody, or control.

       Request for Production No. 22:

       In response to this request, Counter-defendant Sawyer invokes his rights against self-

incrimination pursuant to the   5th   and 14th Amendments to the US Constitution, as well as

pursuant to Article 1, Section 19 ofthe Missouri Constitution, and on that basis objects to and

will not provide the information sought. Without waiving the objection, Counter-defendant

Sawyer states that he is unaware of any records responsive to the request that are in his

possession, custody, or control.

       Request for Production No. 23:

       In response to this request, Counter-defendant Sawyer invokes his rights against self-

incrimination pursuant to the   5th   and 14th Amendments to the US Constitution, as well as

pursuant to Article 1, Section 19 of the Missouri Constitution, and on that basis objects to and

will not provide the information sought.

       Request for Production No. 24:

       The request is not directed to or applicable to Counter-defendant Sawyer.

       Request for Production No. 25:

       The request is not directed to or applicable to Counter-defendant Sawyer.



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,__.




              Request for Production No. 26:

              In response to this request, Counter-defendant Sawyer invokes his rights against self-

       incrimination pursuant to the 5th and 14th Amendments to the US Constitution, as well as

       pursuant to Article 1, Section 19 of the Missouri Constitution, and on that basis objects to and

       will not provide the information sought. Without waiving the objection, Counter-defendant

       Sawyer states that he is unaware of any records responsive to the request that are in his

       possession, custody, or control.

              Request for Production No. 27:

              In response to this request, Counter-defendant Sawyer invokes his rights against self-

       incrimination pursuant to the 5th and 14th Amendments to the US Constitution, as well as

       pursuant to Article 1, Section 19 of the Missouri Constitution, and on that basis objects to and

       will not provide the information sought. Without waiving the objection, Counter-defendant

       Sawyer states that he is unaware of any records responsive to the request that are in his

       possession, custody, or control.

              Request for Production No. 28:

              In response to this request, Counter-defendant Sawyer invokes his rights against self-

       incrimination pursuant to the 5th and 14th Amendments to the US Constitution, as well as

       pursuant to Article 1, Section 19 of the Missouri Constitution, and on that basis objects to and

       will not provide the information sought. Without waiving the objection, Counter-defendant

       Sawyer states that he is unaware of any records responsive to the request that are in his

       possession, custody, or control.

              Request for Production No. 29:

              In response to this request, Counter-defendant Sawyer invokes his rights against self-



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incrimination pursuant to the   5th   and 14th Amendments to the US Constitution, as well as

pursuant to Article 1, Section 19 of the Missouri Constitution, ·and on that basis objects to and

will not provide the information sought. Without waiving the objection, Counter-defendant

Sawyer states that he is unaware of any records responsive to the request that are in his

possession, custody, or control.

       Request for Production No. 30:

       In response to this request, Counter-defendant Sawyer invokes his rights against self-

incrimination pursuant to the   5th   and 14th Amendments to the US Constitution, as well as

pursuant to Article 1, Section 19 ofthe Missouri Constitution, and on that basis objects to and

will not provide the information sought. Without waiving the objection, Counter-defendant

Sawyer states that he is unaware of any records responsive to the request that are in his

possession, custody, or control.

       Request for Production No. 3 1:

       In response to this request, Counter-defendant Sawyer invokes his rights against self-

incrimination pursuant to the   5th   and 14th Amendments to the US Constitution, as well as

pursuant to Article 1, Section 19 of the Missouri Constitution, and on that basis objects to and

will not provide the information sought. Without waiving the objection, Counter-defendant

Sawyer states that he is unaware of any records responsive to the request that are in his

possession, custody, or control.

       Request for Production No. 32:

       In response to this request, Counter-defendant Sawyer invokes his rights against self-

incrimination pursuant to the 5th and 14th Amendments to the US Constitution, as well as

pursuant to Article 1, Section 19 of the Missouri Constitution, and on that basis objects to and



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will not provide the information sought. Without waiving the objection, Counter-defendant

Sawyer states that he is unaware of any records responsive to the request that are in his

possession, custody. or control.

       Request for Production No . 33:

       In response to this request, Counter-defendant Sawyer invokes his rights against self-

incrimination pursuant to the 5111 and 141h Amendments to the US Constitution, as well as

pursuant to Article I, Section 19 of the Missouri Constitution, and on that basis objects to and

will not provide the information sought. Without waiving the objection, Counter-defendant

Sawyer states that he is unaware of any records responsive to the request that are in his

possession. custody, or control.

DATED: August 24. 2018                                           GEORDIE DUCKLER, P.C.


                                                                 By: s/ Geordie Duckier
                                                                 Geordi e Duckier. OSB #873780
                                                                 Attorney for Plaintiff and Counter-
                                                                 Defendant Andrew Sawyer

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Attorney for Plaintiff and Counter-Defendant Andrew Sawyer



       I belit:ve. based on reasonable inquir), that the foregoing supplemental responses are true

and correct to   th~:   best of my knowledge. information and hclicf. I verify under penalty of

perjury that the foregoing      i~   true and correct.


DATED: August l~-t·. 2018

                                                         By:    (J_
                                                               Andrew Sawyer

                                                           12
J.




      1                                CERTIFICATE OF SERVICE
      2          I certify that on the 2ih day of August, 2018, the foregoing DEFENDANT ANDREW

      3   SAWYER'S SUPPLEMENTAL RESPONSES TO COUNTERCLAIM was served via U.S.

      4   Mail on the following:

      5   Martina Bernstein, MartjnaB@petaf.org
          Marissa Lauren Curran, mcunan@polsinelli.com
      6   Jared S. Goodman, JaredG@petaf.org
          James P. Martin, jmartin@polsinelli.com
      7
          Kelly J. Muensterman, kmuensterman@polsinelli.com
      8           Attorneys for Defendants/Counter-Claimants
                  People for the Ethical Treatment ofAnimals, Inc.
      9           and Angela Scott

     10

     11          DATED this 27th day of August, 2018
     12
                                                      GEORDIE DUCKLER, P.C.
     13

     14                                               By:
                                                              Geordie Duckler OSB No. 873780
     15
                                                              Attorney for Plaintiff/Counter-Defendant
     16                                                       Andrew Sawyer

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                                      PAGE 1- CERTIFICATE OF SERVICE
